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                                   How Much Does It Cost To Go To The Masters?
                               A look at what entry to one of the most prestigious events in world sport costs

                                                                                                    Newsletter




                       (Image credit: Getty Images)


                                                                             BY MIKE HALL
                                                                             LAST UPDATED JUNE 08, 2022



   The Masters is one of the most exclusive sports events in the world, so it’s no surprise that tickets can be hard to come by. Indeed,
   even the tickets for the practice round are highly sought after and, like daily tournament tickets, are issued on a random basis.

   Daily tournament tickets are issued first, and anyone who misses out is then entered into the practice round ticket selection, provided
   they applied for both. There are strict rules surrounding ticket applications, too. For example, applicants must be 21 or over (although

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   children can attend). Meanwhile, only one person per household can apply. Additionally, applications from a student or temporary
   address, second home, or business address are not permitted, and you can’t apply on behalf of anyone else, sell or gift the tickets.
   You can apply for each day. However, the applicant is only permitted to attend one of the days.

   Assuming you haven’t fallen foul of any of the application rules, practice round tickets cost $75 each plus additional shipping and
   handling costs. Unsurprisingly, tickets for the tournament proper are more expensive, at $115. Despite that stipulation not to gift or
   sell tickets, some do still enter the resale market, where you can expect to pay upwards of $1,000 for a practice round ticket to as
   much as $4,000 for a ticket to the final round of the tournament.

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   One unlikely way of scoring entry to all four days of the tournament is to acquire a series badge held by Masters patrons. The badge
   is a prized possession at an eye-catchingly low $375 per year, and holders can keep it for life. Meanwhile, children aged between
   eight and 16 can attend for free if a patron series badge holder accompanies them. However, getting one is far from easy. Indeed,
   the last time Augusta National re-opened the waiting list was in 2000. Also, on the death of a badge holder, they can only be
   transferred to a surviving spouse.




   (Image credit: Getty Images)


   If you missed out on the ticket lottery, can’t afford those secondary market prices, and can’t get your hands on a patron series badge,
   there is another option - waiting in the car park to see if you can persuade someone leaving for the day to hand you their ticket.
   Every ticket is limited to two re-entries per round, so if your powers of persuasion are up to the challenge, it could be worth a try.



                                             HOW HARD IS IT TO GET MASTERS TICKETS?



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      Tickets to The Masters fall just behind the Super Bowl in terms of difficulty to acquire. If you’re a patron or win the annual ticket
      lottery, you can get one for as low as $75. However, tickets are scarce, so many people face the cost of thousands on the
      secondary market.




                                        HOW DO YOU GET PICKED FOR MASTERS TICKETS?

      Visit The Masters ticket lottery website and create your account. Then, choose which day you would like to apply for. You can
      choose up to four practice round tickets but only two tournament tickets. You’ll be notified by email if your application has been
      successful.




                                                   CAN YOU SELL MASTERS TICKETS?

      Tickets are not permitted to be sold, transferred, rented, or packaged in conjunction with any other thing of value. Any ticket
      contravening those provisions will not be honoured, and the holder won’t be able to use the tickets.




      Things You Didn't Know About The Masters




          PLAY SOUND




                                                                     Mike Hall
                                                                     Freelance Staff Writer


               Mike has over 25 years of experience in journalism, including writing on a range of sports
        throughout that time, such as golf, football and cricket. Now a freelance staff writer for Golf Monthly,

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                                  he is dedicated to covering the game's most newsworthy stories.


         He has written hundreds of articles on the game, from features offering insights into how members
         of the public can play some of the world's most revered courses, to breaking news stories affecting
             everything from the PGA Tour and LIV Golf to developmental Tours and the amateur game.


            Mike grew up in East Yorkshire and began his career in journalism in 1997. He then moved to
         London in 2003 as his career flourished, and nowadays resides in New Brunswick, Canada, where
                        he and his wife raise their young family less than a mile from his local course.


          Kevin Cook’s acclaimed 2007 biography, Tommy’s Honour, about golf’s founding father and son,
                                          remains one of his all-time favourite sports books.




              LIV Golf Announces Six New Signings
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